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 4 (702)388-6336
   Attorneys for Plaintiff
 5 United States of America

 6

 7                      UNITED STATES DISTRICT COURT
                                  DISTRICT OF NEVADA
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 9
     UNITED STATES OF AMERICA,
10                                                  Case Nos. 2:14-cr-0353-GMN-GWF
                            Plaintiff,                        2:15-cr-0305-KJD-NJK
11
                v.                                  UNOPPOSED MOTION TO
12                                                  CONSOLIDATE
     SALEUMKIAT KAYARATH,
13
                           Defendant.
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16      COMES NOW THE UNITED STATES OF AMERICA, by and through DANIEL
17
     G. BOGDEN, United States Attorney, and Susan Cushman, Assistant United
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     States Attorney, and hereby moves this Court for an order to consolidate this case
19
     with United States v. Saleumkiat L. Kayarath, case number 2:15-cr-0305-KJD-NJK
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21 for all further proceedings.

22      On October 29, 2014, a federal grand jury in the District of Nevada returned a
23
     nine-count criminal indictment charging Saleumkiat KAYARATH, Ardis Vanfossan,
24
     Chayphet Voravong, and John Tacorda with Conspiracy to Distribute a Controlled
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     Substance in violation of 21 U.S.C. §§ 846, 841(a)(1) and (b)(1)(A)(viii) and related
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27 offenses. The case was assigned to Chief Judge Gloria M. Navarro.

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       On July 18, 2013, a federal grand jury in the District of Vermont returned a
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 2 sealed two-count indictment charging KAYARATH with Conspiracy to Distribute a

 3 Controlled Substance in violation of 21 U.S.C. §§ 846, 841(a)(1) and (b)(1)(C). That

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   has since been unsealed and the case has been transferred to the District of Nevada
 5
   under Rule 20 and assigned Case No. 2:15-cr-305-KJD-NJK.
 6
      KAYARATH has entered into written plea agreements with the United States in
 7

 8 both cases. A change of plea in Case No. 2:14-cr-0353-GMN-GWF is scheduled for
 9 November 23, 2015 at 1:30 p.m.. In the interest of judicial economy, the United

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   States respectfully requests this Court to order that this case be consolidated with
11
   Case No. 5:13-cr-104. KAYARATH is prepared to enter a guilty plea in Case No.
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   2:15-cr-305-KJD-NJK and would like to do so on November 23, 2015. The conduct
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14 in both cases is related.

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 1       Richard Schonfeld, Esq., counsel for defendant, was contacted by undersigned
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     counsel and agrees with the proposed consolidation of the cases.
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            Dated this 3rd day of November, 2015
 4

 5                                                 Respectfully Submitted,

 6                                                 DANIEL G. BOGDEN
                                                   United States Attorney
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 8
                                                   /s/Susan Cushman
 9                                                 _______________________________
                                                   SUSAN CUSHMAN
10                                                 Assistant United States Attorney
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   SO ORDERED
17 Dated: November 3, 2015

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   ________________________________
20 GLORIA M. NAVARRO

21 Chief Judge United States District Court

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                                              3
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 1                              CERTIFICATE OF SERVICE
 2
           I certify that a copy of the foregoing motion was served on counsel of record
 3
     by email.
 4

 5                                          /s/ Susan Cushman
                                            _______________________________________
 6                                          SUSAN CUSHMAN, AUSA

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